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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    Civil Case No. 14-cv-03074-CMA-KMT

    JOHANA PAOLA BELTRAN,
    LUSAPHO HLATSHANENI,
    BEAUDETTE DEETLEFS,
    ALEXANDRA IVETTE GONZALEZ,
    JULIANE HARNING,
    NICOLE MAPLEDORAM,
    LAURA MEJIA JIMENEZ,
    SARAH CAROLINA AZUELA RASCON,
    CATHY CARAMELO,
    LINDA ELIZABETH,
    GABRIELA PEREZ REYES,
         and those similarly situated,

         Plaintiffs,
    v.

    INTEREXCHANGE, INC.,
    USAUPAIR, INC.,
    GREATAUPAIR, LLC,
    EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
    EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
    CULTURAL HOMESTAY INTERNATIONAL,
    CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
    AUPAIRCARE INC.,
    AU PAIR INTERNATIONAL, INC.,
    APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
    AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA,
    ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR,
    AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR,
    GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR,
    AGENT AU PAIR,
    A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
    20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

         Defendants.


         JOINT STATUS REPORT IN ADVANCE OF SCHEDULING CONFERENCE
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             On August 6, 2018, the Court ordered that the Parties consult and submit to the

    Court the “unique procedures” and other procedural and logistical issues they intend to

    present at the scheduling conference set for August 15, 2018. ECF No. 1125.

    Accordingly, all Parties1 in the above-captioned litigation, having conferred by telephone

    and e-mail, state as follows:

    Trial length

             1.     The Parties2 are in agreement with the 6-week trial length as ordered by

    the Court. However, the Parties disagree about the allocation of time.

             a.     Plaintiffs’ position. Plaintiffs believe that the Court is well equipped to

    manage the trial of this action, and that strict allocations of time are not necessary. For

    planning purposes, plaintiffs believe that they can present their case-in-chief in three

    trial weeks, and their rebuttal case in one trial week or less.

             b.     Defendants’ position. Defendants contend that the time should be split

    evenly between the two sides, and that each side receive an equal number of hours of

    trial time. Based on the Court’s standard trial day, as set forth in the Practice

    Standards, Defendants understand that each trial day will be 5 hours and 45 minutes.

    Across 30 days of trial, the total of 172.5 hours should be divided equally, so that each

    side will receive 86.25 trial hours exclusive of jury empanelment and deliberations. To

    ensure a fair use of the hours at trial, time spent on cross-examination should be

    charged against the side that is cross-examining the witness. Alternatively, if the Court

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     A.P.E.X. and 20/20, antitrust-only Defendants represented by Lawrence Stone, have
    not at this point agreed to the trial approach accepted by the other thirteen sponsors.
    The other Defendants will work with Mr. Stone to find a compromise solution. For ease
    of reference, the other thirteen sponsors are referred to simply as “Defendants.”
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        A.P.E.X. and 20/20 believe a seven (7) week trial is necessary.


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    is not amenable to splitting by trial hour, Defendants propose an equal split of 15 trial

    days for Plaintiffs’ case and 15 trial days for Defendants’ case.

           Defendants oppose Plaintiffs’ request that Plaintiffs receive more than half of the

    trial time because they carry the burden of proof on most claims. Defendants are

    comprised of 15 different businesses and organizations defending against dozens of

    claims in multiple jurisdictions against which they must defend, many of which present

    unique issues that must be defended individually by each Defendant. Moreover,

    Defendants have several key defenses that will require significant trial time, e.g.,

    statutes of limitations, condition precedent requirements on state claims. While

    Defendants are working to streamline the trial as much as possible (see paragraph 2,

    below), representation of fifteen Defendants by thirteen law firms creates serious

    logistical issues. Whatever counting procedure the Court chooses, the time allocated to

    Plaintiffs and Defendants should be the same.

    Lead Trial Counsel and Multiparty Coordination

           2.     Defendants’ position. In order to streamline the cross-examination of

    Plaintiffs’ witnesses and the presentation of the defense case, Defendants have

    selected a trial team of approximately three or four attorneys (“Defendants’ Principal

    Trial Team” or the “Team”), one of whom will be designated “lead counsel.” These

    attorneys will commit to being present at counsel table and for all conferences with the

    Court throughout the trial, will conduct cross-examinations of Plaintiffs’ witnesses on

    behalf of all defense counsel (with the current possible exception of Mr. Stone), and will

    conduct the direct examination of Defendants’ expert witnesses and fact witnesses

    whose testimony is not limited to one Defendant’s case. Other counsel of record for




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    various Defendants will participate in witness examinations from time to time, including

    especially with the examination of their respective client’s representatives. Such

    counsel will generally be present throughout the trial to ensure continuity and familiarity

    with the Court’s earlier rulings. Subject to reaching agreement with Mr. Stone, each

    witness will be examined or cross-examined only by one attorney from the Defendants’

    side.

            Defendants believe that this approach will allow for the most efficient

    presentation to the Court and to the jury and will allow for the dozens of claims and

    defenses in this case to be presented in as streamlined a fashion as is possible.

            Plaintiffs’ position. Plaintiffs have no objection to the Defendants identifying a

    small group of lawyers to act as lead/joint trial counsel on behalf of all Defendants, so

    long as all Defendants agree to be bound by any decisions or statements made by the

    defense trial team (except if any Defendant stakes out a different position

    contemporaneously). For obvious reasons, plaintiffs’ counsel and the Court must be

    able to rely upon the representations, concessions, stipulations, and positions advanced

    by lead/joint defense counsel, rather than being forced to re-litigate issues already

    resolved.

    Streamlining claims

            3.     Defendants’ position. Notwithstanding the foregoing efforts, Defendants

    have serious concerns about the manageability of this case if Plaintiffs do not

    streamline the claims and classes/sub-classes prior to trial. As the case stands,

    Plaintiffs purport, for example, to bring several state-law claims, each with different

    elements and burdens of proof against Defendants. These claims – and the defense




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    thereof – will require individualized evidence that is specific, in some instances, to

    certain states and certain Plaintiffs. As far as Defendants can tell from Plaintiffs’ filings

    to date, the alleged damages for these sub-classes are entirely duplicative of the

    damages sought on Plaintiffs’ antitrust and wage-and-hour claims.

            Defendants have raised their concerns with Plaintiffs, who suggested

    streamlining the case at the jury instruction phase. Defendants respectfully submit that

    such narrowing should be done in advance to allow for an efficient presentation to the

    jury.

            Defendants believe that it is crucial to the streamlined management and

    presentation of this case that the Final Pretrial Order be submitted by the Parties – and

    that several issues therein be resolved by the Court – significantly before trial. Several

    key legal issues in this case remain unresolved and will influence which witnesses and

    exhibits will be presented at trial. Furthermore, as Defendants discuss above, the case

    can be feasibly tried within the time allotted only if Plaintiffs clarify which claims they are

    pursuing, which is properly done in the pretrial order.

            Plaintiffs’ position. Defendants have failed to win dismissal or summary

    judgment on the remaining claims, and have no basis on which to demand that the

    plaintiffs forego any claims at trial. Plaintiffs believe, moreover, that proper jury

    instructions and an appropriate verdict form can easily overcome any perceived

    concerns of the Defendants.

            The Defendant’s concerns are misplaced, in any event. The lion’s share of the

    facts are relevant to most or all claims, and the state law claims have very few relevant

    differences. For example, most state wage-and-hour laws use factors that are similar to




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    or the same as federal law. Likewise, the facts giving rise to Defendants’ special

    relationship with Plaintiffs (and therefore to their tort liability and fiduciary duties) arises

    from Defendants’ positions as sponsors and putative caretakers of young men and

    woman in a foreign country.

            Notwithstanding the foregoing, Plaintiffs have no objection to early resolution of

    disputes over jury instructions so that all parties can efficiently prepare for trial. The

    joint proposal below reflects this approach.

    Trial Schedule

            4.       Plaintiffs and Defendants jointly propose the following:


    Event                       Deadline Based           Plaintiffs’ Proposed     Defendants’
                                on existing              Deadline                 Proposed
                                Orders, FRCP,                                     Deadline
                                Local
                                Rules/Practice
                                Standards

    Defendants provide                                   November 5, 2018         same
    updated class
    member information
    Final Pretrial Order        7 days before Final January 18, 2018              October 23, 2018
                                Pretrial Conference
    Final Pretrial              Not yet set         January 25, 2019              October 30, 2018
    Conference

    Final class notice          November 11,             November 27, 2018        same
                                2018
    Rule 702 motions            December 11,             December 11, 2018        November 9,
                                2018 (with                                        2018 (with
                                oppositions and                                   oppositions due
                                replies due in                                    December 7,
                                accordance with                                   2018 and replies
                                the D. Colo. local                                due December
                                rules)                                            21)

    Motions in Limine           January 29, 2019         January 18, 2019         same
                                (responses due           (responses due



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                             February 12, 2019)      February 12, 2019)
    Designation of           January 29, 2019        January 29, 2019     December 14,
    Testimony in Lieu of                                                  2018
    Live Witness

    Parties to exchange                              December 14, 2018    same
    proposed jury
    instructions and begin
    meet-and-confer
    efforts to identify
    jointly proposed
    instructions and
    narrow disputes as to
    others
    Counter-Designation      February 5, 2019        February 5, 2019     January 24, 2019
    of Testimony in Lieu
    of Live Witness

    Request for Remote       February 4, 2019        February 4, 2019     same
    Witness Testimony

    Submission of            February 5, 2019        January 5, 2019      January 10, 2019
    Proposed Verdict
    Form and Jury
    Instructions

    Submission of joint      February 12, 2019       February 5, 2019     January 22, 2019
    exhibit list

    Submission of            February 12, 2019       February 5, 2019     same
    witness list

    Submission of            February 12, 2019       February 12, 2019    same
    proposed case-
    specific voir dire
    questions

    Brief with Objections    February 12, 2019       January 10, 2019     February 5, 2019
    to Competing and
    Non-Stipulated Jury
    Instructions


    All other deadlines would remain the same.




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           The deadlines that Defendants seek to move most substantially, and the reasons

    for the move, are:

       •   The Pretrial Order: The suggested advancement of this deadline to October is to

           permit Defendants to know which claims Plaintiffs intend to pursue, which is of

           critical importance, e.g., to determining the selection of witnesses and

           exhibits. The early filing would also permit the Court to consider ruling on such

           issues in advance of trial.

       •   The designation of deposition testimony in lieu of live testimony: The suggested

           advancement of this deadline relates to the anticipated extensive use of

           deposition testimony in this case (largely because of the unavailability of au pairs

           living internationally), which will trigger the need for extended time to prepare

           extensive counter-designations.

       •   Jury instructions: The suggested advancement of this deadline relates to the

           requirement that, once the proposed instructions are in, Plaintiffs and

           Defendants brief the competing instructions. Defendants anticipate several

           contentious and very important instructions, which makes it advisable (a) to

           enlarge the time for briefing; and (b) to give the Court adequate time for review

           without unnecessary time restrictions.

       •   Rule 702 (Daubert) motions: The suggested advancement of this deadline by

           about a month is largely to avoid the necessity for briefing occurring entirely over

           the holidays. In addition, to the extent that the Court chooses to rule earlier, the

           parties will be in a better position to prepare for trial.




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    Motions in Limine

           5.      Furthermore, the Parties have conferred with regard to their anticipated

    motions in limine, and certain defendants anticipate a number of difficult or unusual

    evidentiary issues. The Parties will need the Court’s assistance regarding these issues,

    and believe that additional background information, arguments and authority, may assist

    the Court in ruling on at least some of the topics pre-trial, or at least being in a better

    position to rule on any remaining issues during, and in the context of, the presentation

    of evidence.

           Defendants’ Position. Given the formatting requirements of Fed.R.Civ.P. 10

    and D.C.COLO.LCivR 10.1, the number of areas and issues for which motions in limine

    are anticipated, and the number of Parties involved, the Parties request supplemental

    pages of briefing in addition to the aforementioned schedule modifications. The Parties

    respectfully seek leave of this Court to exceed the page limitations set forth in Judge

    Arguello's Civ. Practice Standard 7.1B(c), such that each side’s consolidated motion in

    limine shall not exceed 24 pages, and that the respective responses thereto shall not

    exceed 24 pages.

           Plaintiffs’ Position. Plaintiffs do not perceive any particularly unique or

    complex in limine issues, but given Defendants’ position and the number of parties

    involved, have no objection to each side submitting a single consolidated set of motions

    in limine, not to exceed 24 pages.



    Dated: August 13, 2018                       Respectfully submitted,




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                            CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on August 13, 2018, I caused to be electronically filed the
   foregoing Joint Status Report in Advance of Scheduling Conference with the Clerk of
   Court using the CM/ECF system, which will send notification of such filing to all counsel
   of record, including:

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